
440 F. Supp. 2d 591 (2006)
MICRON TECHNOLOGY, INC. and Micron Semiconductor Products, Inc., Plaintiffs,
v.
TESSERA, INC., Defendant.
Civil Action No. 2:05cv319.
United States District Court, E.D. Texas, Marshall Division.
July 13, 2006.
*592 *593 David L. Witcoff, Matthew David Kellam, Stacy Ann Baim, Jones Day, Chicago, IL, Jenny L. Sheaffer, Michelle K. Fischer, Patrick James Norton, Robert H. Rawson, Jr., Susan M. Gerber, Jones Day, Cleveland, OH, Allen Franklin Gardner, Michael Edwin Jones, Potter Minton PC, Tyler, TX, Kajeer Yar, Michael J. Newton, Jones Day, Dallas, TX, for Plaintiffs.
Thomas John Ward, Jr., Law Office of T. John Ward Jr., PC, Elizabeth L. Derieux, Sidney Calvin Capshaw, III, Brown McCarroll, Longview, TX, Benjamin W. Hattenbach, Elliot N. Brown, Ellisen S. Turner, Jonathan H. Steinberg, Joseph M. Lipner, Morgan Chu, Peter Shimamoto, Reynaldo C. Barcelo, Thomas C. Werner, Trevor V. Stockinger, Irell &amp; Manella LLP, Los Angeles, CA, David K. Djavaherian, Rudolph Y. Kim, Irell &amp; Manella, Newport Beach, CA, Franklin Jones, Jr., Jones &amp; Jones, Harry Lee Gillam, Jr., Melissa Richards Smith, Gillam &amp; Smith, L.L.P., Marshall, TX, Jack Wesley Hill, Otis W. Carroll, Jr., Ireland Carroll &amp; Kelley, Tyler, TX, for Defendant.

MEMORANDUM OPINION AND ORDER
LOVE, United States Magistrate Judge.
This claim construction opinion construes terms in U.S. Patent Nos. 4,992,849 ("the '849 patent"), 5,107,328 ("the '328 patent"), and Re. 36,325 ("the '325 patent"). Plaintiffs, Micron Technology, Inc. and Micron Semiconductor Products, Inc. (collectively "Micron"), have asserted several other patents against Defendant, Tessera, Inc. ("Tessera"), in this lawsuit, but only claim language from the '849, '325, and '328 patents remains in dispute.

The Patents
The patents in suit generally deal with microchip packaging. The '328 patent describes a means for packaging a semiconductor die with centrally or laterally located *594 bond pads without the use of a lead frame. In the past, as semiconductor dies got smaller, new smaller frames also had to be designed. By dispensing with the lead frame altogether, the '328 patent allows the package to accommodate smaller dies without the necessity of designing another lead frame. The package houses the die in a series of shelves, which are capped by a lid and a base.
Both the '849 and '325 patents relate to means for connecting multiple semiconductor die onto a polymide substrate where the substrate functions as both a lead frame connection for the semiconductor die and as a printed circuit board.
Applicable Law
"It is a `bedrock principle' of patent law that the claims of a patent define the invention to which the patentee is entitled the right to exclude." Phillips v. AWH Corp., 415 F.3d 1303, 1312 (Fed.Cir. 2005) (en banc) (quoting Innova/Pure Water Inc. v. Safari Water Filtration Sys., Inc., 381 F.3d 1111, 1115 (Fed.Cir.2004)). In claim construction, courts examine the patent's intrinsic evidence to define the patented invention's scope. See id.; C.R. Bard, Inc. v. U.S. Surgical Corp., 388 F.3d 858, 861 (Fed.Cir.2004); Bell Atl. Network Servs., Inc. v. Covad Communications Group, Inc., 262 F.3d 1258, 1267 (Fed.Cir. 2001). This intrinsic evidence includes the claims themselves, the specification, and the prosecution history. See Phillips, 415 F.3d at 1314; C.R. Bard, Inc., 388 F.3d at 861. Courts give claim terms their ordinary and accustomed meaning as understood by one of ordinary skill in the art at the time of the invention in the context of the entire patent. Phillips, 415 F.3d at 1312-13; Alloc, Inc. v. Int'l Trade Comm'n, 342 F.3d 1361, 1368 (Fed.Cir. 2003).
The claims themselves provide substantial guidance in determining the meaning of particular claim terms. Phillips, 415 F.3d at 1314. First, a term's context in the asserted claim can be very instructive. Id. Other asserted or unasserted claims can also aid in determining the claim's meaning because claim terms are typically used consistently throughout the patent. Id. Differences among the claim terms can also assist in understanding a term's meaning. Id. For example, when a dependent claim adds a limitation to an independent claim, it is presumed that the independent claim does not include the limitation. Id. at 1314-15.
Claims "must be read in view of the specification, of which they are a part." Id. (quoting Markman v. Westview Instruments, Inc., 52 F.3d 967, 978 (Fed.Cir. 1995)). "[T]he specification `is always highly relevant to the claim construction analysis. Usually, it is dispositive; it is the single best guide to the meaning of a disputed term.'" Id. (quoting Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed.Cir.1996)); Teleflex, Inc. v. Ficosa N. Am. Corp., 299 F.3d 1313, 1325 (Fed.Cir.2002). This is true because a patentee may define his own terms, give a claim term a different meaning than the term would otherwise possess, or disclaim or disavow the claim scope. Phillips, 415 F.3d at 1316. In these situations, the inventor's lexicography governs. Id. Also, the specification may resolve ambiguous claim terms "where the ordinary and accustomed meaning of the words used in the claims lack sufficient clarity to permit the scope of the claim to be ascertained from the words alone." Teleflex, Inc., 299 F.3d at 1325. But, "although the specification may aid the court in interpreting the meaning of disputed claim language, particular embodiments and examples appearing in the specification will not generally be read into the claims." Comark Communications, Inc. v. Harris Corp., 156 F.3d 1182, 1187 (Fed.Cir.1998); see also Phillips, 415 F.3d at 1323. The prosecution history is another tool to supply the *595 proper context for claim construction because a patent applicant may also define a term in prosecuting the patent. Home Diagnostics, Inc., v. LifeScan, Inc., 381 F.3d 1352, 1356 (Fed.Cir.2004) ("As in the case of the specification, a patent applicant may define a term in prosecuting a patent.").
Although extrinsic evidence can be useful, it is "less significant than the intrinsic record in determining the legally operative meaning of claim language.'" Phillips, 415 F.3d at 1317 (quoting C.R. Bard, Inc., 388 F.3d at 862). Technical dictionaries and treatises may help a court understand the underlying technology and the manner in which one skilled in the art might use claim terms, but technical dictionaries and treatises may provide, definitions that are too broad or may not be indicative of how the term is used in the patent. Id. at 1318. Similarly, expert testimony may aid a court in understanding the underlying technology and determining the particular meaning of a term in the pertinent field, but an expert's conclusory, unsupported assertions as to a term's definition is entirely unhelpful to a court. Id. Generally, extrinsic evidence is "less reliable than the patent and its prosecution history in determining how to read claim terms." Id.

The Terms
The '849 and '325 Patents
Proceeding on two separate theories, Tessera argues that the preambles to Claim 1 of the '849 and '325 patents limit those claims.[1] Tessera's first theory is that these claims were written in Jepson form because they "first describe the scope of the prior art and then claim an improvement of the prior art." Dow Chem. Co. v. Sumitomo Chem. Co., Ltd., 257 F.3d 1364 (Fed.Cir.2001); 37 C.F.R. § 1.75(e). Alternatively, Tessera argues that the preambles are limiting because they recite essential structure that is important to the invention or necessary to give meaning to the claim. NTP, Inc. v. Research In Motion, Ltd., 418 F.3d 1282, 1305-06 (Fed. Cir.2005), cert. denied, ___ U.S. ___, 126 S. Ct. 1174, 163 L. Ed. 2d 1141 (2006). The Court finds that both preambles are limiting, but were not written in Jepson form.
37 C.F.R. § 1.75(e) sets forth the requirements for Jepson claims, and provides:
Where the nature of the case admits, as in the case of an improvement, any independent claim should contain in the following order: (1) a preamble comprising a general description of all the elements or steps of the claimed combination which are conventional or known, (2) a phrase such as "wherein the improvement comprises," and (3) those elements, steps and/or relationships which constitute that portion of the claimed combination which the applicant considers as the new or improved portion.
Courts rely on Rule § 1.75(e)(1) when analyzing Jepson issues. See Epcon Gas Systems, Inc. v. Bauer Compressors, Inc., 279 F.3d 1022, 1029 (Fed.Cir.2002); Kegel Co. v. AMF Bowling, Inc., 127 F.3d 1420, 1426 *596 (Fed.Cir.1997). In a Jepson claim, the "preamble defines not only the context of the claimed invention, but also its scope." Rowe v. Dror, 112 F.3d 473, 479 (Fed.Cir. 1997). By employing the Jepson form the patentee evidences the intention "to use the preamble to define, in part, the structural elements of his claimed invention." Epcon Gas, 279 F.3d at 1029; Rowe, 112 F.3d at 479; Kegel, 127 F.3d at 1426.
Rule § 1.75(e) and the associated case law require that Jepson claims contain specific information in a narrowly defined form, and the Court is aware of no exceptions to these requirements. In arguing that Claim 1 of the '325 and '849 patents are Jepson claims, Tessera seeks to impermissibly relax these requirements.
Tessera argues that the preambles were drafted in Jepson form because the preamble language corresponds with prior art depicted in Figure 2 of the patent, and because the prior art references in the preamble are further described in the specification. However, the preamble of a Jepson claim must do more than refer to prior art that is more fully described elsewhere in the patent. Rule § 1.75(e)(1) requires that the preamble set forth a "general description all of the elements or steps of the claimed combination which are conventional or known." Tessera seems to suggest that a preamble written in Jepson form need only refer to prior art to satisfy Rule § 1.75(e)(1). The Court disagrees.
The preamble of a Jepson claim is drafted to "define, in part, the structural elements of [the] claimed invention." Epcon Gas, 279 F.3d at 1029; Rowe, 112 F.3d at 479; Kegel, 127 F.3d at 1426. Therefore, it is reasonable to require that the preamble set forth the elements or steps of the prior art that are improved upon so that the public may be fairly notified of the scope of the invention. Tessera cites no authority to support its argument that a preamble may be written in Jepson form if what is described in the preamble is described elsewhere in the specification as prior art, and the Court sees no reason to so interpret Rule § 1.75(e)(1). However, even assuming the preambles of the '849 and '325 comported with Jepson form, these claims lack the necessary transitional phrase indicating that the subsequent language comprises an improvement over the previously stated prior art.
The preambles at issue conclude with the phrase "characterized by," but Rule § 1.75(e)(2) requires that Jepson claims employ "a phrase such as `wherein the improvement comprises' (emphasis added)." Although the phrase "such as" offers some leeway to the patentee, Tessera cites no authority to suggest the phrase "characterized by" satisfies Rule § 1.75(e)(2). The caselaw reflects some variation in the phrases used in Jepson claims, but they all communicate that the subsequent claim language constitutes an improvement. Neutrik AG v. Switchcraft, Inc., 31 Fed.Appx. 718, 720 ("the improvement comprising"); Epcon Gas, 279 F.3d at 1029, 1030 ("the improvement wherein"); Dow Chemical v. Sumitomo Chemical Co., Ltd., 257 F.3d 1364 ("the improvement which comprises"); DeMarini Sports, Inc. v. Worth, Inc., 239 F.3d 1314, 1318 ("an improvement comprising"); Kegel, 127 F.3d at 1426, 1423 ("the improvement comprising") Rowe, 112 F.3d at 476 ("the improvement comprising"). All of these phrases communicate that the preceding language described prior art[2] and the subsequent language describes an improvement over that prior art. The phrase "characterized by" without more, is *597 insufficient to satisfy Rule § 1.75(e)(2) because it fails to communicate that the subsequent language comprises an improvement over the previously stated elements or steps of prior art. As stated above, the narrowly defined Jepson form must be followed closely so that the public may be notified of the scope of the invention. Therefore, the Court cannot find that Claim 1 of either the '849 or the '325 patents is written in Jepson form.[3]
The Court will now address whether the preambles are limiting without regard to Jepson form. When limitations in the body of a patent claim rely upon, and derive antecedent basis from, the claim preamble, the preamble may act as a necessary component of the claimed invention. Bicon, Inc. v. Straumann Co., 441 F.3d 945, 952 (Fed.Cir.2006). In order to be limiting, the preamble must recite essential structure that is important to the invention or necessary to give meaning to the claim. Id. citing NTP, Inc. v. Research In Motion, Ltd., 418 F.3d 1282, 1305-06 (Fed.Cir.2005), cert. denied, ___ U.S. ___, 126 S. Ct. 1174, 163 L. Ed. 2d 1141 (2006). However, a preamble is not considered limiting "where a patentee defines a structurally complete invention in the claim body and uses the preamble only to state a purpose or intended use for the invention." Rowe, 112 F.3d at 478 (Fed. Cir.1997).
In the '325 preamble, the phrase "a memory array in which a plurality of memory circuit devices are arranged" is limiting because "memory array" and "memory circuit devices" provide antecedent basis for "the memory array" and "the memory devices" in part (e) of the body of Claim 1. 8:39-40; 9:7. Further, the phrase provides essential structure to the invention not set forth in the body of the claim. Bicon, Inc., 441 F.3d at 952. However, the remainder of the preamble is not limiting because it describes the claimed invention's purpose or intended use, rather than describing essential structure. See 8:40-47; Rowe, 112 F.3d at 478. This segment of the preamble describes how the arrangement of memory devices may allow memory information to be obtained, but it does not describe any essential structure. By contrast, the entire '849 preamble is limiting because it recites essential structure and provides antecedent basis for part (b) of the body of Claim 1. See 9:5,7, and 14.
The '328 Patent
Conductive leads for electrically coupling with an electronic device, wherein said conductive leads electrically couple with said conductive traces
There are several points of contention concerning the construction of this claim language, and the Court will address them individually. To begin with, Tessera argues that the entire phrase should be construed, whereas Micron contends only "conductive leads" requires construction.[4]*598 The Court agrees with Micron that only the phrase "conductive leads" should be construed.
For the purposes of this discussion, the disputed claim language can be roughly broken up into three parts. First, "conductive leads," are identified, then the relationship between the "conductive leads" and the "electronic device" is described, and finally the relationship between the "conductive leads" and the "conductive traces" is described. In each relationship, the "conductive leads" "electrically couple" or are "electrically coupling," with the "conductive traces" and "electronic device," respectively. Properly understood, the entire phrase describes "conductive leads" acting as electrically conductive bridges between the "conductive traces" and the "electronic device." That understanding may be gained from the plain and ordinary meaning of the language, and even if it were not, the Court would not adopt Tessera's construction because it offers no more guidance than the claim language itself.
Tessera's construction tracks the three part structure described above. In describing the relationship between "conductive leads" and "an electronic device," Tessera's construction provides that "conductive leads" are "used as input/output (I/O) for connecting the package body to an external device." Compare 8:1-2 ("conductive leads for electronically coupling with an electronic device."). Essentially, Tessera substitutes "connecting" for "electronically coupling," which would not offer much assistance to a juror. See Sulzer Textil A.G. v. Picanol N.V., 358 F.3d 1356, 1366 (Fed.Cir.2004).
The construction goes on to say that "[t]he conductive leads are connected to the conductive traces (emphasis added)" and then clarifies that the purpose of that connection is "to provide an electrical current path between the leads and the traces." Compare 8:2-3 ("conductive leads electronically couple to said conductive traces."). Here, Tessera has broken up the phrase "electrically couple" into two phrases that are longer, but not significantly more helpful, than the phrase itself. Tessera's construction is not incorrect or confusing, but it simply reorganizes the claim language without offering more guidance than the claim language itself, which makes Tessera's construction unhelpful, and therefore, improper. Sulzer, 358 F.3d at 1366.
The Court will now address the parties' arguments regarding the construction of "conductive leads."[5] The basic disagreement concerns Tessera's requirement that "conductive leads" be "long and thin, not shaped as a mass."[6] Micron insists that the patent does not restrict the physical shape or size of the "conductive leads," but Tessera argues that Figures 2 and 3 depict "conductive leads" as long and thin, and further argues that one skilled in the art at the time the patent was issued would understand "conductive leads" to be "long and thin, not shaped as a mass." However, the claim language does not explicitly support such a limitation, nor do the specification or extrinsic evidence compel the *599 conclusion that "conductive leads" must take on any particular physical form.
Claim 11 recites all of the components comprising the logic component, and describes the pathway along which signals will travel between the electrical device and the semiconductor die. 7:29-32; 8:1-3 (describing "a second shelf having conductive traces thereon . . . wherein said traces couple with bond pads on the semiconductor die . . . conductive leads for electrically coupling with an electronic device, wherein said conductive leads electrically couple with said conductive traces."). The "conductive leads" occupy a portion of that pathway, but their physical characteristics are not mentioned; only the function of the "conductive leads" as a link in the chain between the semiconductor die and the device is referenced. Therefore, a proper understanding of the claim language requires emphasis on the role of the "conductive leads" rather than their form.
The specification implicitly refers to the "conductive leads" only three times, calling them "input/output (I/O) leads" or just "I/O leads." 2:24-26; 3:57-60; 4:45-48. Like the claim language, the specification focuses on the role "conductive leads" play, rather than their form. 2:24-26 (describing pads on the upper surface of the shelf being electrically coupled with conductive traces which attach to input/output (I/O) leads); 3:57-60 and 4:45-48 (describing coupling traces with I/O leads by means such as side brazing). Although Figures 2 and 3 depict "conductive leads" as long and thin, the Court declines to read that limitation into the claim. Burke, Inc., v. Bruno Indep. Living Aids, Inc., 183 F.3d 1334, 1341 (Fed.Cir.1999).
Tessera also argues that, without regard to how the term "leads" is used within the patent, the meaning of "lead" was independently established at the time this patent issued, and any person skilled in the art would understand that "leads" were "long and thin, not shaped as a mass." Micron disputes Tessera's understanding, and the Court finds that the extrinsic evidence is not clear enough to support Tessera's limitation.
In support of its limitation, Tessera cites several patents issued around the time the '328 patent was issued that contain embodiments where "leads" are shown as relatively long and thin. However, the fact that these leads are long and thin does not necessarily require that leads in general must be "long and thin, not shaped as a mass." Tessera goes on to argue that the common understanding of "leads" excludes masses, bumps, or balls, pointing out that chip packages employing solder balls are known as "leadless packages" in the packaging industry. Micron counters that the common understanding of the word lead is much more inclusive, citing the 1989 Edition of the Electronic Materials Handbook, which defines "lead" as "[a] conductive path, usually self-supporting. That portion of an electrical component used to connect it to the outside world." Electronic Materials Handbook, Vol. 1 at 1148 (1989). This definition is consistent with the patent's treatment of the "conductive leads," which was based primarily on the function of the "conductive leads" rather than their form. As the extrinsic evidence is conflicted, the Court is reluctant to rely on that evidence to justify Tessera's more restrictive construction of "conductive leads." Phillips, 415 F.3d at 1318 (Noting that extrinsic evidence is "less reliable than the patent and its prosecution history in determining how to read claim terms.")
The last point of contention concerns Micron's use of the phrase "on the outside of the body." Tessera objects to this language on the basis that "conductive leads" cannot be, at once, a part of a body and outside of that body. The Court disagrees with the logic underlying Tessera's argument, and finds that the additional *600 language is consistent with the claim language and specification. The claim language describes a self-contained die package with "conductive leads for coupling with an electronic device (emphasis added)." The electronic device is separate from the claimed logic component, and the leads couple the package with the outside device. Thus, in order to couple with a separate device, it is seemingly necessary that the leads be on the outside of the body. The specification reinforces this understanding of the placement of the conductive leads. 3:57-59 ("the traces have means for coupling with I/O leads on the outside of the ceramic body."); 4:45-47 ("The traces have means for coupling with I/O leads on the outside of the body). Accordingly, the Court construes `conductive leads' to mean `conductive input/output' (I/O) elements on the outside of the body."

Conclusion
For the foregoing reasons, the Court interprets the claim language in this case in the manner set forth above. For ease of reference, the Court's claim interpretations are set forth in a table attached to this opinion.
So ORDERED.

                                               {JOINT CLAIM CONSTRUCTION CHART}
                                             {Micron v. Tessera, No. 2:05-cv-319}
                                                  {Plaintiffs                    {Defendant's}
                                                   {Proposed                      {Proposed}                       {Court's}
                                                 {Construction                  {Construction}                  {Construction}
                                                      {Claims 30, 32, and 33}
                                                    {U.S. Patent No. 6,268,649}
30. A stackable ball grid array package,
comprising:
a printed circuit board substrate having         "printed circuit board        "printed circuit board        "printed circuit board
a first surface, a second surface, an            substrate":                   substrate":                   substrate":
aperture therethrough, and a plurality of
conductive element pads on said second           [AGREED]                      [AGREED]                      A rigid substrate.
surface;
at least one semiconductor device mounted
within a first perimeter of said first surface
of said printed circuit board substrate,
said at least one semiconductor
device having a plurality of bond pads on a
first surface thereof;
a plurality of wire bonds connecting at
least some of said plurality of conductive
element pads and some of said plurality of
bond pads on said second surface of said
printed circuit board substrate and extending
through said aperture in said
printed circuit board substrate;
encapsulant placed along a portion of said
aperture, said plurality of bond pads, and
said plurality of wire bonds, said encapsulant
forming a first profile height; and
a plurality of conductive elements mounted
along a second perimeter of said second
surface, said second perimeter being
greater than said first perimeter, said plurality
of conductive elements connected to
some of said plurality of conductive element
pads on said second surface, said
plurality of conductive elements having a
second profile height of one of a height
greater than said first profile height and a
height substantially equal to said first profile
height.
32. The stackable ball grid array package
according to claim 30, wherein a first portion
of said plurality of conductive elements
*601
aligns in a substantially parallel row
having a first pitch spacing.
33. The stackable ball grid array package
according to claim 32, wherein a second
portion of said plurality of conductive elements
aligns in a second parallel row having
a second pitch spacing.
                                                        Claims 6 and 7
                                                   U.S. Patent No. 6,013,948
6. A stackable semiconductor package
comprising:
a substrate comprising, a first surface,         "substrate":                  "substrate":                  "substrate":
an opposing second surface, and a
cavity;                                          [AGREED]                      [AGREED]                      A supporting material.
a plurality of first contacts on the first
surface;                                         "cavity":                     "cavity":
a plurality of second contacts on the
second surface, the second contacts              [AGREED]                      [AGREED]                      No construction.
configured for electrically engaging third
contacts substantially identical to the first
contacts on a second semiconductor package       "plurality of                 "plurality of                 "plurality of
substantially identical to the semiconductor     conductive vias":             conductive vies":             conductive vias":
package;
a plurality of conductive vias in the substrate  [AGREED]                      [AGREED]                      Through holes with
electrically connecting the first contacts                                                                   conductive material
to the second contacts; and                                                                                  that permit electrical
                                                                                                             connections.
a semiconductor die comprising a plurality       "mounted to the               "mounted to the
of die contacts, the die mounted to the          cavity":                      cavity":
cavity at least partially encapsulated in a
polymer within the cavity with the die           [AGREED]                      [AGREED]                      No construction.
contacts in electrical communication with
the first contacts or the second contacts.
7. The package of claim 6 wherein the
substrate comprises silicon and the conductive   "substrate":                  "substrate":
vies comprise electrically
insulated openings at least partially filled     [AGREED]                      [AGREED]                      A supporting material.
with a conductive material.
                                                 "conductive vias":            "conductive vias":            "conductive vias":
                                                 [AGREED]                      [AGREED]                      Through holes with
                                                                                                             conductive material
                                                                                                             that permit electrical
                                                                                                             connections.
                                                    Claims 25-27 and 29-30
                                                   U.S. Patent No. 5,739,585
25. A semiconductor package comprising:
a package body comprising a resin-glass          "a resin-glass                "a resin-glass                "a resin-glass
laminate with an elongated opening               laminate":                    laminate":                    laminate":
there through, said body including a first
surface and an opposed second surface;           [AGREED]                      [AGREED]                      A multilayer material
                                                                                                             including resin and
                                                                                                             glass.
a semiconductor die comprising a circuit
side with a plurality of bond pads, said
circuit side attached to the first surface
with an adhesive layer therebetween, and
with the bond pads on the die in alignment
with the opening;
a pattern of conductors formed on the
second surface of the package body, at
least one of said conductors including a
metal ball;
a plurality of wires placed through the
opening and bonded to the bond pads and
conductors; and
*602
a curable material placed within the             "curable material":           "curable material":           "curable material":
opening to encapsulate at least
a portion of the wires.                          [AGREED]                      [AGREED]                      A substance that may
                                                                                                             be hardened.
26. The package as claimed in claim 25
wherein the curable material comprises           "curable material":           "curable material":           "curable material":
a material selected from the group consisting
of epoxy, silicone, polyimide, and a             [AGREED]                      [AGREED]                      A substance that may
room temperature vulcanizing material.                                                                       be hardened.
27. The package as claimed in claim 25
further comprising a solder mask formed          "a solder mask":              "a solder mask":              "a solder mask":
on the conductors for attaching a plurality
of solder bumps to the conductors.               [AGREED]                      [AGREED]                      A coating that is
                                                                                                             formed on a conductor
                                                                                                             that leaves exposed areas
                                                                                                             where solder is to
                                                                                                             be attached or added.
29. The package as claimed in claim 25           "a resin-glass                "a resin-glass                "a resin-glass
wherein the resin-glass laminate comprises       laminate":                    laminate":                    laminate":
a FR-4 material.
                                                 [AGREED]                      [AGREED]                      A multilayer material
                                                                               including resin and
                                                                               glass.
30. The package as claimed in claim 25
wherein a plurality of dice are mounted to
the first surface to form a multi chip module.
                                                      Claims 1-3 and 10-11
                                                   U.S. Patent No. 5,107,328
1. A body for receiving a semiconductor          "lid":                        "lid":
die, said body comprising:
a) a first shelf for receiving a lid;            [AGREED]                      [AGREED]                      No construction.
b) a second shelf having conductive
traces thereon, said second shelf overlying
a portion of the semiconductor die,
wherein said traces couple with bond
pads on the semiconductor die;                   "second shelf having          "second shelf having
c) a third shelf for receiving a base; and       conductive traces             conductive traces
d) conductive leads for electrically coupling    thereon, said second           thereon, said second
with an electronic device, wherein               shelf overlying a portion      shelf overlying a portion
said conductive leads electrically couple        of the semiconductor           of the semiconductor
with said conductive traces.                     die, wherein                   die, wherein
                                                 said traces couple             said traces couple
                                                 with bond pads on the          with bond pads on the
                                                 semiconductor die":            semiconductor die":
                                                 [AGREED]                       [AGREED]                     The second shelf, and
                                                                                                             the conductive traces
                                                                                                             on the second shelf,
                                                                                                             cover a portion of the
                                                                                                             semiconductor die
                                                                                                             wherein said traces
                                                                                                             electrically couple the
                                                                                                             bond pads on the semiconductor
                                                                                                             die and the
                                                                                                             conductive traces on
                                                                                                             the second shelf.
                                                 Tessera did not request       "shelf": The parties          No construction.
                                                 separate construction of      both agree that this
                                                 "shelf' and "conductive       term does not need to
                                                 traces" at the time           be construed separately.
                                                 specified by PR 4-1 or        However, if the
                                                 PR 4-2.                       Court concludes that
                                                                               this term requires construction,
                                                                               the parties
                                                                               disagree as to how this
*603
                                                                               term should be construed.
                                                                               Tessera believes
                                                                               that it should be
                                                                               construed to mean:
                                                                               A thin, flat, long, and
                                                                               narrow piece of material
                                                                               extending horizontally
                                                                               at a distance from a
                                                                               base to hold objects.
                                                                               See Tessera's Responsive
                                                                               Claim Construction
                                                                               Brief at 19-20.
                                                                               "conductive traces":          No construction.
                                                                               The parties both agree
                                                                               that this term does not
                                                                               need to be construed
                                                                               separately. However,
                                                                               if the Court concludes
                                                                               that this term requires
                                                                               construction, the parties
                                                                               disagree as to how
                                                                               this term should be
                                                                               construed. Tessera believes
                                                                               that it should be
                                                                               construed to mean:
                                                                               Long strips of metal
                                                                               formed on the second
                                                                               shelf that connect one
                                                                               end of the bond wire to
                                                                               the conductive leads.
                                                                               See Tessera's Responsive
                                                                               Claim Construction
                                                                               Brief at 19-21
                                                 "base":                       "base":
                                                 [AGREED]                    [AGREED]                      No construction.
                                                 "conductive leads for         "conductive leads for
                                                 electrically coupling         electrically coupling
                                                 with an electronic device,    with an electronic device,
                                                 wherein said conductive       wherein said conductive
                                                 leads electrically            leads electrically
                                                 couple with said              couple with said
                                                 conductive traces":           conductive traces":
                                                 Conductive I/O elements       An electrical conductor,      Conductive leads: conductive
                                                 on the outside of             made up of electrically       input/output
                                                 the body.                     conductive material,          (I/O) elements on the
                                                                               long and thin, not            outside of the body.
                                                                               shaped as a mass, used        No construction for the
                                                                               as input/output (I/O) for     remainder of the disputed
                                                                               connecting the package        phrase.
                                                                               body to an external device.
                                                                               The conductive
                                                                               leads are connected to
                                                                               the conductive traces to
                                                                               provide an electrical
                                                                               current path between
                                                                               the leads and the
                                                                               traces.
2. The body of claim 1, wherein said second
shelf contains a void, said void being
located approximately above the bond
pads of the semiconductor die, wherein a
conductive material passes through said
void to electrically couple said conductive
traces with the bond pads on the semiconductor.
*604
3. The body of claim 2, wherein said void
bisects said second shelf.
10. The body of claim 1 wherein said body
is manufactured from a material comprising
plastic.
11. A logic component comprising: a) a           "lid":                        "lid":
semiconductor die; b) a body for receiving
said semiconductor die; c) a lid and a base      [AGREED]                      [AGREED]                      No construction.
receivable by said body;
d) a first shelf for receiving said lid; e) a    "base":                       "base":
second shelf having conductive traces
thereon, said second shelf overlying a
portion of the semiconductor die,                [AGREED]                      [AGREED]                      No construction.
wherein said traces couple with bond
pads on the semiconductor die; f) a third
shelf for receiving said base; and
g) conductive reads for electrically coupling    "second shelf having          "second shelf having
with an electronic device, wherein               conductive traces             conductive traces
said conductive leads electrically couple        thereon, said second          thereon, said second
with said conductive traces.                     shelf overlying a portion     shelf overlying a portion
                                                 of the semiconductor             of the semiconductor
                                                 die, wherein                     die, wherein
                                                 said traces couple               said traces couple
                                                 with bond pads on the            with bond pads on the
                                                 semiconductor die":              semiconductor die":
                                                 [AGREED]                      [AGREED]                      The second shelf, and
                                                                                                             the conductive traces
                                                                                                             on the second shelf,
                                                                                                             cover a portion of the
                                                                                                             semiconductor die
                                                                                                             wherein said traces
                                                                                                             electrically couple the
                                                                                                             bond pads on the semiconductor
                                                                                                             die and the
                                                                                                             conductive traces on
                                                                                                             the second shelf.
                                                 Tessera did not request       "shelf": The parties          No construction.
                                                 separate construction of      both agree that this
                                                 "shelf' and "conductive       term does not need to
                                                 traces" at the time           be construed separately.
                                                 specified by PR 4-1 or        However, if the
                                                 PR 4-2.                       Court concludes that
                                                                               this term requires construction,
                                                                               the parties
                                                                               disagree as to how this
                                                                               term should be construed.
                                                                               Tessera believes
                                                                               that it should be
                                                                               construed to mean:
                                                                               A thin, flat, long, and
                                                                               narrow piece of material
                                                                               extending horizontally
                                                                               at a distance from a
                                                                               base to hold objects.
                                                                               See Tessera's Responsive
                                                                               Claim Construction
                                                                               Brief at 19-20.
                                                                               "conductive traces": No construction.
                                                                               The parties both agree
                                                                               that this term does not
                                                                               need to be construed
                                                                               separately. However,
                                                                               if the Court concludes
                                                                               that this term requires
                                                                               construction, the parties
                                                                               disagree as to how
*605
                                                                               this term should be
                                                                               construed. Tessera believes
                                                                               that it should be
                                                                               construed to mean:
                                                                               Long strips of metal
                                                                               formed on the second
                                                                               shelf that connect one
                                                                               end of the bond wire to
                                                                               the conductive leads.
                                                                               See Tessera's Responsive
                                                                               Claim Construction
                                                                               Brief at 19-21.
                                                 "conductive leads for         "conductive leads for
                                                 electrically coupling         electrically coupling
                                                 with an electronic device,    with an electronic device,
                                                 wherein said conductive       wherein said conductive
                                                 leads electrically            leads electrically
                                                 couple with said              couple with said
                                                 conductive traces":           conductive traces":
                                                 Conductive I/O elements       An electrical conductor,      Conductive leads: conductive
                                                 on the outside of             made up of electrically       input/output
                                                 the body.                     conductive material,          (I/O) elements on the
                                                                               long and thin, not            outside of the body.
                                                                               shaped as a mass, used        No construction for the
                                                                               as input/output (I/0) for     remainder of the disputed
                                                                               connecting the package        phrase.
                                                                               body to an external device.
                                                                               The conductive
                                                                               leads are connected to
                                                                               the conductive traces to
                                                                               provide an electrical
                                                                               current path between
                                                                               the leads and the
                                                                               traces.
                                                       Claims 35 and 43
                                                   U.S. Patent No. 6,265,766
35. An electrical assembly for connection
to a substrate having a plurality of             "bare semiconductor           "bare semiconductor           "bare semiconductor
                                                 die":                         die":                         die":
circuits comprising: a bare semiconductor
die having a surface having a plurality          [AGREED]                      [AGREED]                      At least one face of the
of bond pads located thereon; a die                                                                          semiconductor is exposed.
substrate having a die side surface, an
attachment surface,                              "bond pads":                  "bond pads":                  "bond pads":
a via extending through the die substrate
from the die side surface to the                 [AGREED]                      [AGREED]                      A conductive surface to
attachment surface, and a plurality of circuit                                                               which a wire bond is attached.
traces, a portion of the surface having
the plurality of bond pads of said bare
semiconductor die attached to a portion
of the die side surface of the die substrate;
a plurality of wire bonds extending
through the via extending through the            "via extending                "via extending                "via extending
die substrate from the die side surface to       through the die               through the die               through the die
the attachment surface                           substrate":                   substrate":                   substrate":
thereof, the plurality of wire bonds connected   [AGREED]                      [AGREED]                      A hole that extends
to the plurality of bond pads of the                                                                         from one surface on the
bare semiconductor die and the plurality                                                                     die substrate to the opposite
of circuit traces; and a plurality of electrical                                                             surface.
connectors located on the attachment
surface of the die substrate for electrically
connecting the die substrate and said substrate,
the plurality of electrical connectors
connected to the plurality of circuit
traces.
*606
43. The electrical assembly of claim 35,
where the die substrate comprises a printed
circuit board.
                                                    Claims 1-2, 8, and 10-11
                                                   U.S. Patent No. Re 36,325
1. A memory array in which a plurality           This claim is not a           This claim is a Jepson        This claim is not a Jepson
of memory circuit devices are arranged           Jepson claim.                 claim wherein the             claim.
in a manner such that memory information                                       preamble is admitted
is obtained by addressing bits of                The preamble of this          prior art, and all of         The preamble of this
information from a selected number of            claim is not a limitation.    the elements set forth        claim is a limitation as
the memory devices in the array in a                                           therein must be present       discussed in the Court's
format, and the format of bits forms a                                         in an accused device          claim construction opinion.
byte of memory data such that each                                             to establish infringement.
byte includes bits from each memory
device in the selected number of the
circuit devices, and wherein the bits are
addressed as rows and columns of information
in a matrix on each memory
device, characterized by:
(a) a support structure which includes a
single polymeric sheet, the polymeric
sheet having a plurality of die receiving
portions thereon, having tape automated
bond (TAB) leads thereon and having a
first set of electrical circuit traces on one
side of the polymeric sheet, the tape automated
bond pads being in electrical communication
with the circuit traces;
(b) a plurality of integrated circuitry memory
devices, each device consisting of circuit
elements deposited on a substrate and
having conductive bumps deposited thereon,
the integrated circuit devices being
located within separate ones of the receiving
portions of the single polymeric sheet,
and connected to the polymeric sheet by          "means to mechanically        "means to mechanically
being attached to the tape automated bond        stabilize the                 stabilize the
pads at the conductive bumps, and each of        memory array so that          memory array so that
the integrated circuit devices being connected   the polymeric sheet,          the polymeric sheet,
to the TAB leads on the polymeric                the memory devices            the memory devices
sheet within its respective die receiving        and the circuit terminals     and the circuit terminals
portion;                                         are maintained in             are maintained in
(c) a second set of circuit traces on a plane    electrical communication      electrical communication
which is separate from said one side of the      during normal                 during normal
polymeric sheet, the second set of circuit       service"                      service"
traces being in electrical communication
with the first set of electrical circuit         Claimed function:             Claimed function:
traces;
(d) circuit terminals in electrical communication[AGREED]                      [AGREED]                      Claimed function: to
with the circuit traces, the circuit                                                                         mechanically stabilize
terminals configured in a pattern which                                                                      the memory array so
conforms to a predetermined external circuit                                                                 that the polymeric
connection and memory address                                                                                sheet, the memory
protocol; and                                                                                                devices and the circuit
(e) means to mechanically stabilize the                                                                      terminals are maintained
memory array so that the polymeric                                                                           in electrical communication
sheet, the memory devices and the circuit                                                                    during normal
terminals are maintained in                                                                                  service
electrical communication during normal           Corresponding                 Corresponding                 Corresponding
service.                                         structure:                    structure:                    structure:
                                                 [AGREED]                      [AGREED]                      "Resin"
2. A memory array as defined in claim 1,
further characterized by: the means to
mechanically stabilize the memory array
including mechanical structure which
8. A memory array as described in claim 1,
characterized by:
*607
(a) each memory device having addresses
which are arranged in similar matrices of
rows and columns on the memory device;
and
(b) the addressing of a row of memory
devices being accomplished to corresponding
rows and columns on each memory
device in a row of memory devices in
response to address commands.
10. A memory array as described in claim
1, further characterized by:
(a) the memory devices being random access
memory semiconductor devices, having
read and write address bits thereon;
(b) the devices having row and column
enable bits for the memory devices.
11. A memory array as described in claim
1, further characterized by: the memory
devices being dynamic random access
memories.
                                                     Claims 1, 2, 8, 10-11
                                                   U.S. Patent No. 4,992,849
1. Board level integrated circuit in             This claim is not a           This claim is a Jepson        This claim is not a Jepson
which a plurality of semiconductor circuit       Jepson claim.                 claim wherein the             claim.
devices are arranged on a flexible                                             preamble is admitted
circuit board and each of the semiconductor      The preamble of this          prior art, and all of         The preamble of this
circuit devices is a distinct integrated         claim is not a limitation.    the elements set forth        claim is a limitation as
circuit chip, characterized by:                                                therein must be               discussed in the Court's
(a) a support structure which includes a                                       present in an accused         claim construction opinion.
single polymeric sheet, the polymeric                                          device to establish infringement.
sheet having a plurality of die receiving
portions thereon, having tape automated
bond (TAB) pads thereon and having a
first set of electrical circuit traces on one
side of the polymeric sheet, the tape automated
bond pads being in electrical communication
with the circuit traces;
(b) the plurality of integrated circuit devices
each consisting of circuit elements
deposited on a substrate and having conductive
bumps deposited thereon, the integrated
circuit devices being located within
separate ones of the die receiving portions      "means to mechanically       "means to mechanically
of the single polymeric sheet, mounted to        stabilize the                 stabilize the
the polymeric sheet and connected to the         polymeric sheet with          polymeric sheet with
polymeric sheet by being attached to the         the integrated circuit        the integrated circuit
tape automated bond pads at the conductive       devices mounted               devices mounted
bumps, and each of the integrated                thereon so that the           thereon so that the
circuit devices being connected to the TAB       polymeric sheet, the          polymeric sheet, the
leads on the polymeric sheet within its          integrated circuit devices    integrated circuit devices
respective die receiving portion;                and the circuit               and the circuit
(c) a second set of circuit traces on a plane    terminals are maintained      terminals are maintained
which is separate from said one side of the      in electrical                 in electrical
polymeric sheet, the second set of circuit       communication during          communication during
traces being in electrical communication         normal service"               normal service"
with the first set of electrical circuit         Claimed function:             Claimed function:
traces;
(d) circuit terminals in electrical communication
with the circuit traces, the circuit             [AGREED]                      [AGREED]                      Claimed function: to
terminals configured in a pattern which                                                                      mechanically stabilize
conforms to a predetermined external circuit                                                                 the polymeric sheet
connection protocol; and                                                                                     with the integrated
(e) means to mechanically stabilize the                                                                      circuit devices mounted
polymeric sheet with the integrated circuit                                                                  thereon so that the
devices mounted thereon so that                                                                              polymeric sheet, the integrated
the polymeric sheet, the integrated circuit                                                                  circuit devices
devices and the circuit terminals                                                                            and the circuit terminals
are maintained in electrical communication                                                                   are maintained in
during normal service.                                                                                       electrical communication
*608
                                                                                                             during normal service.
                                                 Corresponding                 Corresponding                 Corresponding
                                                 structure:                    structure:                    structure:
                                                 [AGREED]                      [AGREED]                      "Resin"
2. Board level integrated circuit as defined
in claim 1, further characterized by: the
means to mechanically stabilize the board
level integrated circuit including mechanical
structure which supports the circuit
terminals.
8. Board level integrated circuit as described
in claim 1, characterized by:
(a) a group of the integrated circuit devices    "a group of the               "a group of the               "a group of the
having addresses which are arranged              integrated circuit            integrated circuit            integrated circuit
in similar matrices of rows and columns on       devices":                     devices":                     devices":
the integrated circuit device; and
(b) the addressing of a row of integrated        [AGREED]                      [AGREED]                      Two or more integrated
circuit devices in the group being accomplished                                                              circuit devices.
to corresponding rows and columns
on each integrated circuit device in a
row of integrated circuit devices in the
group in response to address commands.
10. Board level integrated circuit as described
in claim 9, further characterized
by: the integrated circuit devices being
dynamic random access memories.
11. Board level integrated circuit as described
in claim 1, further characterized
by:
a group of the integrated circuit devices        "a group of the               "a group of the               "a group of the
being random access memory semiconductor         integrated circuit            integrated circuit            integrated circuit
devices, having read and write address           devices":                     devices":                     devices":
bits thereon, having row and column enable
bits for the memory devices.
                                                 [AGREED]                      [AGREED]                      Two or more integrated
                                                                                                             circuit devices.

NOTES
[1]  '325 Patent, Preamble to Claim 1: A memory array in which a plurality of memory circuit devices are arranged in a manner such that memory information is obtained by addressing bits of information from a selected number of the memory devices in the array in a format, and the format of bits forms a byte of memory data such that each byte includes bits from each memory device in the selected number of the circuit devices, and wherein the bits are addressed as rows and columns of information in a matrix on each memory device, characterized by.

'849 Patent, Preamble to Claim 1: Board level integrated circuit in which a plurality of semiconductor circuit devices are arranged on a flexible circuit board and each of the semiconductor circuit devices is a distinct integrated circuit chip, characterized by.
[2]  The Court is not precluding the possibility that the foregoing language, which would presumably be the preamble, may contain other language not comprising prior art. However, in order to satisfy Rule § 1.75(e)(2), no prior art may appear after the phrase.
[3]  The Court also notes that Tessera cites no evidence from the prosecution history to suggest that Micron intended to draft these claims in Jepson form. See Epcon Gas, 279 F.3d at 1029; Rowe, 112 F.3d at 479; Kegel, 127 F.3d at 1426. Although other evidence could establish whether Micron intended to draft these claims in Jepson form, the prosecution history can be particularly helpful in determining the patentee's intent. See Epcon Gas, 279 F.3d at 1029; Polaroid Corp. v. Eastman Kodak Co., 519 F. Supp. 381, 384 (D.C.Mass.1981).
[4]  Micron argues "conductive leads" are "conductive I/O elements on the outside of the body." Tessera argues the entire phrase should be construed to mean "[a]n electrical conductor, made up of electrically conductive material, long and thin, not shaped as a mass, used as input/output (I/O) for connecting the package body to an external device. The conductive leads are connected to the conductive traces to provide an electrical current path between the leads and the traces."
[5]  The Court will construe this term after having considered the parties pre-Markman briefing as well as their oral arguments at the Markman hearing and the supplemental post-Markman briefing.
[6]  Tessera's construction also describes "conductive leads" as "[a]n electrical conductor, made up of electrically conductive material." However, there is little dispute over the fact that "conductive leads" are electrically conductive, therefore, the Court will not address this segment of Tessera's construction.

